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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF FLORIDA
                               TALLAHASSEE DIVISION

DUNCAN MOORE,                                          )
                                                       )
               Plaintiff/Counter Defendant,            )
                                                       )
                                                       )     Case No.: 4:09-CV-273-RH/WCS
vs.                                                    )
                                                       )
TALLAHASSEE MEMORIAL HEALTHCARE,                       )
INC., a Florida non-profit corporation,                )
                                                       )
               Defendant/Counter Plaintiff.            )
                                                       /

                         DEFENDANT’S REVISED TRIAL EXHIBITS

        Plaintiff has consented to these exhibits which differ from the Defendant’s exhibits listed in
the Pretrial Stipulation.

EXHIBIT                                            DESCRIPTION
Exhibit 1       Compensation Details – D. Moore SERP Claim
                Fiscal year basis, as reported on 990’s
Exhibit 2       Compensation Details – D. Moore SERP Claim
                Calculation of difference between actual payments and D. Moore claim
                7/1/2003 – 6/1/2010
Exhibit 3       SERP Calculation – TMH Claims Committee determination, Salary Only
                5 highest years: June 22, 1998 – June 23, 2003
Exhibit 4       SERP Calculation – TMH Claims Committee determination, Salary Only
                Calculation of difference between actual payments and TMH determination of SERP
                7/1/2003 – 6/1/2010
Exhibit 5       SERP Calculation – Salary & Benefits
                5 highest years: June 22, 1998 – June 23, 2003
Exhibit 6       SERP Calculation – Salary & Benefits, BEFORE offsets
                5 highest years: June 22, 1998 – June 23, 2003
                Over (Under) Payment Summary 7/1/2003 – 6/1/2010
Exhibit 7       SERP Calculation – Salary & Benefits, AFTER offsets
                5 highest years: June 22, 1998 – June 23, 2003
                Over (Under) Payment Summary 7/1/2003 – 6/1/2010
Exhibit 8       SERP Calculation – Salary, Benefits, Deferred comp., SERP
                5 highest years: June 22, 1998 to June 23, 2003
Exhibit 9       SERP Calculation – Salary, Benefits, Deferred comp., SERP, BEFORE offsets
                5 highest years: June 22, 1998 to June 23, 2003
                Over (Under) Payment Summary 7/1/2003 – 6/1/2010


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Exhibit 10   SERP Calculation – Salary, Benefits, Deferred comp., SERP, AFTER offsets
             5 highest years: June 22, 1998 to June 23, 2003
             Over (Under) Payment Summary 7/1/2003 – 6/1/2010
Exhibit 11   SERP Calculation – Salary, Benefits, Deferred comp., excluding SERP, BEFORE
             offsets
             5 highest years: June 22, 1998 to June 23, 2003
             Over (Under) Payment Summary 7/1/2003 – 6/1/2010
Exhibit 12   SERP Calculation – Salary, Benefits, Deferred comp., excluding SERP, AFTER
             offsets
             5 highest years: June 22, 1998 to June 23, 2003
             Over (Under) Payment Summary 7/1/2003 – 6/1/2010
Exhibit 13   SERP Calculation – Form 990 amounts, salary only
             Fiscal year basis
Exhibit 14   SERP Calculation – Form 990 amounts, SERP, BEFORE offsets
             FYE 9/30/1998 – 9/30/2002
             Over (Under) Payment Summary 7/1/2003 – 6/1/2010
Exhibit 15   SERP Calculation – Form 990 amounts, SERP, AFTER offsets
             FYE 9/30/1998 – 9/30/2002
             Over (Under) Payment Summary 7/1/2003 – 6/1/2010
Exhibit 16   SERP Calculation – Form 990 amounts minus post-employment payments
             Fiscal year basis
Exhibit 17   SERP Calculation – Form 990 amounts minus post-employment payments, BEFORE
             offsets
             FYE 9/30/1998 – 9/30/2002
             Over (Under) Payment Summary 7/1/2003 – 6/1/2010
Exhibit 18   SERP Calculation – Form 990 amounts minus post-employment payments, AFTER
             offsets
             FYE 9/30/1998 – 9/30/2002
             Over (Under) Payment Summary 7/1/2003 – 6/1/2010
Exhibit 19   SERP Calculation – Form 990 amounts, includes PLT & LTS paid after 6/23/2003
             minus SERP amounts
             Fiscal year basis
Exhibit 20   SERP Calculation – Form 990 amounts, includes PLT & LTS paid after 6/23/2003
             minus SERP amounts, BEFORE offsets
             FYE 9/30/1999 – 9/30/2003
             Over (Under) Payment Summary 7/1/2003 – 6/1/2010
Exhibit 21   SERP Calculation – Form 990 amounts, includes PLT & LTS paid after 6/23/2003
             minus SERP amounts, AFTER offsets
             FYE 9/30/1999 – 9/30/2003
             Over (Under) Payment Summary 7/1/2003 – 6/1/2010
Exhibit 22   SERP Calculation – Form 990 amounts, allocate PLT & LTS paid after 6/23/2003
             over 15 years minus post-employment payments
             Fiscal year basis
Exhibit 23   SERP Calculation – Form 990 amounts, allocate PLT & LTS paid after 6/23/2003
             over 15 years minus post-employment payments, BEFORE offsets
             FYE 9/30/1998 – 9/30/2002
             Over (Under) Payment Summary 7/1/2003 – 6/1/2010

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Exhibit 24      SERP Calculation – Form 990 amounts, allocate PLT & LTS paid after 6/23/2003
                over 15 years minus post-employment payments, AFTER offsets
                FYE 9/30/1998 – 9/30/2002
                Over (Under) Payment Summary 7/1/2003 – 6/1/2010
Exhibit 25      1998 Internal Revenue Service Form 990


       Respectfully submitted this 14th day of June, 2010.

                                                        s/ Kenneth R. Hart_________
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                                                        Attorneys for Defendant
                                                        Tallahassee Memorial Healthcare, Inc.

                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 14th day of June, 2010, a copy of the above and foregoing was
filed electronically. Notice of this filing will be sent to the following persons by operation of the
Court’s electronic filing system.

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                                                     s/ Kenneth R. Hart______
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